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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
    ––––––––––––––––––––––––––––––                         X


    JULIAN KAHLON,
                                                                          03774
                                                                1:20 Civ. ______
                                                                _____
                                      Plaintiff,
                                                                COMPLAINT
           v.


    PROJECT VERTE INC.

                                      Defendant.
    ––––––––––––––––––––––––––––––                         X


Plaintiff Julian Kahlon (“Plaintiff” or “Kahlon”), through his undersigned attorneys, as and for

his complaint against defendant Project Verte Inc. (the “Company” or “Defendant”) alleges as

follows:


                                NATURE OF THE ACTION


        1.     Kahlon, the former Chief Executive Officer of the Company, seeks compensation

he is due under his employment agreement, which has been unlawfully withheld.

        2.     Kahlon entered into an employment agreement with the Company on September

1, 2019 which granted Kahlon, amongst other things, a salary and bonus, stock options, and

financial compensation in the event that the agreement was terminated, including but not limited

to salary continuation, bonus, and insurance coverage.

        3.     Kahlon’s employment agreement was unilaterally terminated by the Company on

March 5, 2020. Although Defendant claimed in the termination letter informing Kahlon of his

termination that Kahlon was terminated “for cause,” there is no basis for that claim. The only


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reason provided for Kahlon’s termination was that he allegedly failed to provide his signature to

self-serving convertible notes that he was informed of and presented with for the first time a few

days prior to his termination. Kahlon never refused to execute the convertible notes. And even

if Kahlon were terminated for cause, which he was not, the Company failed to follow required

protocols to make such termination effective.

       4.     At the time of Kahlon’s termination and thereafter, the Company has refused to

pay Kahlon what he is entitled to under the employment agreement, and has wrongfully

eviscerated his right to obtain deeply discounted Company stock options.

       5.     Kahlon brings common law claims for breach of contract and statutory claims

under New York’s Labor Law, N.Y. Lab. Law, § 190 et seq. arising out of Defendant’s failure to

pay him compensation and other financial earnings he lawfully earned, accrued and is entitled to

under the employment agreement, and a claim for the Company’s failure to provide him COBRA

notification required under the Consolidated Omnibus Budget Reconciliation Act of 1985, 29

U.S.C. § 1161 et seq.

       6.     Kahlon seeks damages sustained as a result of Defendant’s unlawful conduct in an

amount to be proven at trial, but believed to be in excess of $1,000,000.00, as well as punitive

damages in the amount of $1,000,000.00, attorneys’ fees and interest.

                                           PARTIES

       7.     Plaintiff, Julian Kahlon, is a resident of New York County in the State of New

York and between September 1, 2019 and March 5, 2020, was employed by the Company in the

position of Chief Executive Officer (“CEO”).

       8.     Project Verte Inc. is an e-commerce company, incorporated in Delaware, with its

principal place of business located in Atlanta, Georgia. The Company provides an ecosystem



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powered by user participation and community intelligence to help brands grow and improve

customer experience through seamless backend processes, expanded sales channels, and

optimized fulfillment.

                                 JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over this lawsuit pursuant to 28 U.S.C.

§ 1331, in that it involves a federal question under 29 U.S.C. § 1161 et seq., and 29 U.S.C. §

1132. This Court has supplemental jurisdiction over Kahlon’s state and statutory claims under

28 U.S.C. § 1367(a) because such claims are related. This Court also has jurisdiction over

Defendant pursuant to 28 U.S.C. § 1332(a), in that the amount in controversy exceeds $75,000,

exclusive of interest and costs, and is between citizens of different states. The Court has

personal jurisdiction over Defendant because, Defendant maintains a business office in the State

of New York, the claims arise out of Defendant's contacts with New York, and Defendant

intentionally acted in such a way as to cause injury to Kahlon in the State of New York.

       10.     Venue is proper in this district by virtue of 28 U.S.C. § 1391, because this is the

judicial district in which a substantial part of the events or omissions giving rise to the claims

occurred, and because the Defendant is subject to personal jurisdiction within the district.

                            FACTS COMMON TO ALL CLAIMS

             A. Kahlon’s Contractual Rights to Compensation

       11.     Kahlon is a highly experienced communications professional, having worked

closely with consumer brands for years, and assisting them with strengthening their relationships

with customers through better communication and digital experiences. Prior to his involvement

with the Company, Kahlon led the rebrand for Haagen-Dazs as a Creative Director at Grey




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Group and headed the ADP innovation lab team that designed one of ADP’s core work

management solutions.

       12.   Kahlon co-founded Project Verte Inc. in January 2017. The Company is the

world’s first social e-commerce platform built on blockchain.

       13.   Kahlon initially served as the Company’s Treasurer in 2017 at the time of the

Company’s formation and took on the role of CEO of the Company on September 1, 2019.

       14.   In connection with his role as CEO, Kahlon entered into an employment

agreement with the Company (the “Employment Agreement”) which became effective as of

September 1, 2019 (although the date was misprinted on the document as September 1, 2018)

and was to expire on September 1, 2022 unless extended or terminated prior to that time. The

Employment Agreement is attached to the Complaint as Exhibit A.

       15.   Under Section 3.2 of the Employment Agreement, Kahlon, as CEO, was given

“such authority as is commensurate with the position of Chief Executive Officer of the

Company” and specifically allotted authority to make decisions without Board approval

including, adopting and modifying budgets, incurring accounts payable and accrued liabilities

incurred in the normal course of business, entering into and terminating contracts having a value

of up to $1,000,000, purchasing assets, entering transactions, entering into, amending, and

terminating employment and consulting agreements, paying Company expenses, purchasing

goods or services for the Company from any third party up to a value of $500,000, and numerous

other additional powers.

       16.   In exchange for Kahlon’s role in overseeing the day-to-day operations of the

Company as CEO, Kahlon was entitled to compensation and benefits which were provided for in

the Employment Agreement.



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       17.    Under Section 5.1 of the Employment Agreement, Kahlon’s base salary shall not

be at an annualized rate of less than $140,000 per year, which was to be paid in substantially

equal installments throughout the year consistent with normal payroll practices of the Company.

The Employment Agreement required that the base salary was to be reviewed at least annually

and could increase but not decrease based primarily on Kahlon’s performance. In 2019 and 2020

Kahlon’s salary was annualized at $140,000 per year.

       18.    Additionally, as detailed in Section 5.2 of the Employment Agreement, Kahlon

was entitled to a discretionary cash bonus of up to 40% of his base salary, which was to be based

on the achievement of key performance indicators that were to be established by the Board and

Kahlon within 60 days following the effective date of the Employment Agreement and thereafter

evaluated in good faith by the Board of Directors or the Compensation Committee. The cash

bonus was to be paid at the same time other bonuses were paid to the Company’s other senior

executive officers. During his employment Kahlon never received a bonus.

       19.    The Agreement also provides, as detailed in Section 5.3, that Kahlon was to be

granted an option to purchase 269,427 shares of the Company’s common stock with a term for

ten years that was to vest and become exercisable during his employment upon the satisfaction of

certain performance conditions agreed to by the Board and Kahlon within six days following the

effective date of the Employment Agreement.

       20.    The Employment Agreement also provides, as detailed in Section 5.4, that Kahlon

was entitled to 20 business days of paid time off per year as well as participation opportunities in

any pension, retirement, insurance and other employee benefit plans and programs made

available by the Company to other senior executives. For the Company’s 401K plan established

by the Company, Kahlon was entitled to the same “matching” and other rights and benefits



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provided by the Company to its other senior executive officers. He was further entitled to

coverage under the Company’s directors and officers liability insurance policies to the same

extent as the Company’s other senior executives.

       21.    The Company also guaranteed reimbursement to Kahlon for ordinary and

necessary business expenses in a reasonable amount incurred by him in performing his duties

under the Agreement, as detailed in Section 5.5 of the Employment Agreement.

           B. Kahlon’s Record of Achievement

       22.    During his employment by the Company Kahlon was an exemplary employee

who worked tirelessly day and night to fulfill the Company’s vision.        In overseeing the

Company, Kahlon hired the developers, engineers, creatives, and e-commerce professionals and

oversaw a large team of numerous personnel as well as an international development team of

individuals and emerging businesses to create the Company’s e-commerce ecosystem powered

by user participation and community intelligence in order to help brands grow and improve their

customer experiences. Much of these efforts and accomplishments concerned overseeing and

enabling the creation of community-powered technologies utilizing blockchain and other

technological components which facilitated the Company’s mission of bringing greater

transparency and wider participation into e-commerce. Kahlon also served as a face for the

Company, speaking on multiple panels and in stage presentations, as well as participating in

trade shows.

       23.    In connection with Kahlon’s oversight and diligence, the Company developed

state of the art, patented blockchain technology in rapid progression.




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           C. The Company Terminates Kahlon’s Employment on False Pretenses

       24.    Despite Kahlon’s benefits to the Company, the Company has failed to provide

Kahlon with the full compensation that he has earned and is entitled to under the Agreement.

       25.    On March 5, 2020 Kahlon was provided with a Notice of Termination from the

Company. No prior notice of the termination was provided. As detailed in Section 2 of the

Employment Agreement, a Notice of Termination for Cause “shall set forth in reasonable detail

the facts and circumstances claimed to provide a basis for termination of the Executive’s

employment.” The Notice of Termination, attached to the Complaint as Exhibit B, alleged that

Kahlon was terminated “for cause” and provided only one supposed reason in alleged support of

that claim – because, as it was alleged by the Company, Kahlon breached a duty to the Board of

Directors of the Company when he allegedly “refused to execute and deliver” convertible notes.

       26.    The Employment Agreement defines “cause” in Section 6.9.1 to mean “(a)

alcohol abuse or the use of controlled drugs (other than in accordance with a physician’s orders);

(b) the Executive’s repeated or substantial refusal, failure, or inability to perform (other than due

to illness or disability), or gross negligence or willful misconduct in the performance of, his

duties; (c) material breach of this Agreement or any other agreement with or duty owed to the

Company or its Affiliates, which breach (if curable) remains uncured thirty (30) days after

receipt of written notice thereof; (d) conduct of the Executive involving dishonesty adversely

affecting the Company or any of its Affiliates, including fraud, embezzlement, theft or other

misuse of property; (e) any commission of or entrance of a plea of guilty or nolo contendere to a

felony, any crime of moral turpitude or any other crime that materially and adversely affects the

operations, financial performance or customer relationships of the Company or its Affiliates, or

(f) a material violation of any written policy of the Company or its Affiliates in effect from time


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to time, including, without limitation, policies relating to discrimination, harassment,

fraternization and nepotism.”

       27.    Although the Notice of Termination alleges that Kahlon failed to repeatedly or

substantially refuse to perform multiple duties, the Notice of Termination only alleges one

supposed “duty” to the Company that Kahlon allegedly refused to perform, thus requiring under

Section 6.9.1(c) of the Employment Agreement a thirty (30) day cure period to elapse before

Kahlon could be terminated.

       28.    Specifically the Notice of Termination alleged – and falsely so – only that Kahlon

refused to provide his signature to convertible notes as part of an offering, which was approved

on February 26, 2020 at a special meeting of the Board of Directors.

       29.    As detailed below, in contrast to the blatantly false allegations in the Notice of

Termination, at no time did or has Kahlon refused the execute the convertible notes. There is

simply no basis for the claim, as alleged in the Notice of Termination, that Kahlon was

terminated “for cause.”

       30.    Prior to the subject Board meeting at which the convertible notes were allegedly

approved, Kahlon was not given any prior notice that the Board was holding a special meeting or

intending to address approval of convertible notes for the Company, despite his repeated requests

to the Board that he be given at least one week of notice as to any forthcoming Board meetings

and that he be provided with notes or minutes from any Board meetings, of which none were

provided to him.

       31.    Kahlon first received notice of the subject February 26, 2020 Board meeting and

convertible notes allegedly approved therein on the following day, February 27, 2020, when

Shoshana Isakov (“Isakov”), an individual who had no relationship with the Company, merely



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referenced them in an email she sent to him to ask if he would be funding the Company’s

“capital call pursuant to the convertible note approved by the Project Verte’s Board of

Directors.” Isakov was at the time an accountant at Continental Ventures, which is a wholly

independent real estate development company from Project Verte Inc. that is led by Jane Gol

(“Gol”), who serves as Continental Ventures’ President at the same time as serving as Project

Verte Inc.’s Chair of the Board of Directors, and by Amir Chaluts (“Chaluts”), who serves as

Continental Ventures’ CEO at the same time as sitting on the Board of Project Verte Inc.

       32.    A few hours later, at 6:10 pm, another employee of Continental Ventures emailed

Kahlon copies of convertible notes. Specifically they were sent to him by Sara Rubenstein

(“Rubenstein”) who was the Company’s Secretary.

       33.    Rubenstein also held herself out to be General Counsel of Project Verte Inc.,

despite clear conflicts of interest in taking on that role and alleging to support the best interests

of Project Verte Inc., while at the same time she was employed and subjected to the self-serving

wants and needs of Project Verte Inc.’s Board members, Gol and Chaluts.

       34.    Upon review of the convertible notes, Kahlon was struck by the fact that they

reflected a capital valuation of the Company for far less than the valuation determined by a third

party and previously relied upon by the Company.             The convertible note valuation was

essentially pulled out of thin air as there was no reference to any third party or internal analysis

that would justify such a sum. Kahlon knew that the valuation was roughly 85% less than the

valuation based on the independent third party analysis which the Company had used in

connection with negotiations with investors and which had been based on generally accepted

valuation techniques. In contrast, the artificially low figure had no legitimate basis. Kahlon

suspected that it had been concocted as a self-serving mechanism to allow Company Board



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members, Gol and Chaluts, and their Company investment vehicle AJ Group to obtain lower

priced equity in the Company through use of funding the convertible notes.       The suspect

valuation, coupled with Kahlon’s knowledge and belief of prior and repeated potential

misconduct by AJ Group representatives, including concerns that its representatives were using

Kahlon’s blank signature on documents on behalf of the Company without his knowledge or

consent, prompted him to pursue further due diligence in preparation for executing the

convertible notes. Notably, in addition to any use of Kahlon’s signature on Company documents

without his permission during his employment, following Kahlon’s termination, the Company

continued to use Kahlon’s signature to bind the Company on official Company documents

without any authorization from him to do so.

       35.    Given his concern and suspicions of improper behavior, fifteen minutes after

receiving the convertible notes, Kahlon emailed Rubenstein and Andrew Hulsh (“Hulsh”), The

Company’s outside counsel, of the law firm of Pepper Hamilton LLP, and requested executed

Project Verte Inc. documentation in order to perform further analysis. Kahlon received no

response to his request.

       36.    The next morning on February 28, 2020, Kahlon emailed the Company Board of

Directors and Hulsh regarding the matter. He raised concern that he was being asked to sign

documents that he just received without notice of details or notification about the “emergency

board meeting.” He further expressed concerns that he had never obtained an agenda for the

meeting, that Rubenstein appeared to have more knowledge of the matter than he did, as the

CEO, despite the fact that Rubenstein as self-appointed General Counsel was conflicted in

working directly for the Company and at the same time as an employee of Company investors

and select Board members who were seeking to advantage themselves at the expense of the



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Company.      Most significantly, Kahlon directly expressed concerns about the terms of the

funding asking counsel “Isn't it the company’s right to have a chance to raise funds on better

terms?” Kahlon expressed concern that, based on the facts he understood to have taken place,

the Board members seeking to advantage themselves appeared unwilling to fund the Company in

good faith in an effort to gain financial advantage by self-servingly downgrading the value of the

Company without basis. Kahlon indicated that the Company issues and integrity were affecting

other employees of the Company, including Shlomi Amoyal (“Amoyal”), the Company Chief

Technology Officer, who Kahlon viewed to be the Company’s “greatest asset.” As Kahlon

informed the Board and Hulsh, Amoyal was prepared to leave the Company.

       37.    Kahlon further asked Hulsh to “withhold from discussing these matters with

anyone within or outside of the company until I fully understand what it is that I am signing.

Now please, help me understand.” Kahlon indicated that he was concerned that he was being

asked to be a “rubber stamp” without evaluating and analyzing the significant actions at play on

which he was asked to blindly sign off.

       38.    Kahlon further expressed concern to Hulsh and the Board that his requests for

Company documentation made the day prior seeking to confirm all was above board were being

ignored.

       39.    Hours later Hulsh responded to Kahlon’s email stating that Hulsh would only

address Kahlon’s concerns after Kahlon signed the convertible notes. Hulsh wrote “[g]iven the

urgency to the Company of receiving the funding under the convertible notes today (and the

related wire transfer deadline), it is essential—to accomplish that funding—that you sign the

documents that Sara sent to you last night and return them to her no later than by 3:00 pm today,

February 28, 2020.” Hulsh appeared to be giving Kahlon an ultimatum to sign the convertible



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notes with less than 24 hours to obtain analysis concerning the request after first being provided

with them. But, aside from Kahlon’s other concerns, at this time he also became concerned

about the veracity of Hulsh’s claim for urgency in executing the notes because he knew that

Company payroll had been effected since he and all other employees were recently paid, and

thus the Company had sufficient funds in its bank account.

       40.    Shortly thereafter Kahlon again pleaded with Hulsh to provide information about

the documentation he was being asked to sign. He expressed his ethical concerns for the

Company and affirmed his need and obligations as CEO to do due diligence. Specifically, in an

email at 3:20 p.m., Kahlon stated, “I would love to sign if I knew what I was signing and had all

the details. I still haven't gotten the specifics of the voting. I'm trying to go through it and to get

the whole picture so I can better understand. I hired a lawyer to guide me through it, but Sara

[Rubenstein] still has not sent me any of the requested paperwork. I had just received something

yesterday to sign with zero context. I have no minutes, no notes, and what questions were asked

at the board meeting. Nothing. It is my responsibility to know what I am signing . . . Please

make sure that I get all the documents I have asked for so I can give it to my lawyer to review

and possibly get to a resolution.”

       41.    The following day, on Saturday, February 29, 2020, Hulsh responded to Kahlon

stating again, without further response to Kahlon’s concerns, that “the execution of these

documents is a critical matter for Project Verte, the failure of which may result in the Company’s

inability to discharge its many obligations, including current payroll.” Hulsh accompanied his

email with a summary of terms for the convertible note offering for the first time. He further

stated that the convertible notes must be signed and that “the Company is currently unable to

meet any of its financial obligations absent a cash infusion from some investors or a loan.”

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         42.   The Notice of Termination provided to Kahlon also references the February 29

email from Hulsh to Kahlon indicating that execution of the convertible notes was “a critical

matter for Project Verte, the failure of which may result in the Company’s inability to discharge

its many obligations, including current payroll.”          As further detailed in the Notice of

Termination, the Company’s counsel indicated that Kahlon’s signature “has unreasonably placed

the Company, which was (and is) running extremely low on cash funds, at risk of being unable to

discharge its financial obligations to employees and other stakeholders.” However, as detailed

above, Kahlon was aware that these statements by the Company’s lawyer were false as Kahlon

knew for a fact at this time that the Company was able to meet its financial obligations, given

that the Company is funded as needed and the Company’s bank account status had to be funded

in order to effect the Company payroll, which Kahlon was aware had occurred.

         43.   On March 1, 2020, Kahlon again reiterated his request for documents to Hulsh,

stating that he had “asked for Verte documents and the board meeting record numerous times

over several days and haven't received them” and again refusing to serve as a “rubber stamp.”

Kahlon again raised his concerns about the transaction for the benefit of the Company and stated

that

         [l]ooking back, I can say that this matter was managed poorly, which
         created the issue that has brought the suspicion level to code red. I was not
         informed of the purpose of the meeting, the agenda, or the desirable
         outcomes. I wasn't even informed of the original meeting! In the event
         you knew of it ahead of time, you must bring it to my intention promptly
         before the meeting, discuss it with me and advise me. This was not a
         routine board meeting, it was an emergency board meeting for god sake.
         You know that my approval for any decision is needed (or maybe you
         forgot?) and even more so because you know that the majority of the
         board are the founders and that they are going to vote on matters that
         involve them, benefiting themselves directly. Are you not seeing it? Don't
         you think that the bare minimum is to assure clean hands? Tell me what
         you did to make sure that everything was done clean and that no one can

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       revisit this later and say it wasn't? I'm Project Verte’s gatekeeper, do you
       think you can bully me into signing off on something like that without
       proper counseling? Especially under the current circumstances. We
       could’ve easily done it properly, and you know exactly what I mean, this
       you didn't do. You can easily call it an ambush, it feels that way to me.
       Just because of the nature of this kind of a decision, it deserved more time
       to thoroughly discuss and understand all of the long term consequences. It
       might be beyond your understanding. I will leave it at that. This is just a
       basic action that we had to perform to get some of the responsibility off of
       us in case of a challenge. You should have got (or me if I knew) a
       reputable outsider to give us at least a ballpark company valuation . . . I
       have sent you a few emails that you have yet to comment on. I have asked
       for your opinion on several matters and you chose to ignore me. Are you
       ignoring Project Verte’s CEO? You forget that you are working for
       Project Verte first and then for the founders and members of the Board.
       Note: I don't appreciate the tone in your emails, it makes me feel bullied,
       threatened, and you're pushing me to sign something that looks shady.
       Please make sure to be professional. I'm asking you again, address my
       emails. Answer my questions and give me your opinions in writing and I
       will consider your recommendations.

       44.    Later that afternoon Hulsh sent Kahlon an email that failed to address his

substantive concerns regarding the convertible notes or his other ethical concerns. However

Hush did state that “[i]f the company can find funding on better terms from here on out, the

funding shareholders have said they would be happy to see that.             And the other initial

stockholder, TNJ, was invited to participate in this financing on the same pro rata terms, and that

remains available right now.”

       45.    Kahlon is aware that on March 2, 2020 another special board meeting was noticed

for the following day. Although Kahlon was not made aware of that meeting at that time by the

Secretary of the Company, he was informed by Jossef Kahlon, Kahlon’s father and an investor

and Board member of the Company, that the purported purpose of the meeting, as scheduled by

the Secretary, was to address “immediate need to fund the Company for the March 2020 rents



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and other items that could not be funded due to lack of sufficient funds to pay these expenses.”

The email is blatantly false given that, as Kahlon was aware, funds were administered to the

Company on an as-needed basis and were already available in the Company’s bank account to

provide payroll.

         46.   Kahlon received no more communications or the documentation he had

repeatedly requested prior to receiving the Notice of Termination on March 5, 2020, which was

executed by Gol, as detailed above, and stated without basis that Kahlon was terminated for

cause.

         47.   Kahlon’s actions and communications with respect to executing the convertible

notes were intended to ensure that the Company’s best interests were protected, and to avoid any

improprieties in connection with raising funds on the best terms possible for the Company. As

such his actions were consistent with the authority granted to him under his Employment

Agreement and fully in accord with his duties to the Company as CEO.

         48.   The Notice of Termination indicated therein that it was effective immediately.

However the Notice of Termination failed to provide Kahlon with at least 30 days advance

written notice of his termination which Section 6 of the Employment Agreement requires the

Company to do in terminating Kahlon other than for cause.

         49.   As detailed above, although the Notice of Termination alleges that Kahlon failed

to repeatedly or substantially refuse to perform multiple duties, the Notice of Termination only

alleges one supposed duty that Kahlon allegedly refused to perform. Kahlon was not given 30

days to cure his alleged violation of the duty to the Company, in direct violation of Section 6.9.1

of the Employment Agreement that requires the Company to give Kahlon written notice of the

alleged violation of duty and to allow Kahlon 30 days after receipt of such notice to cure the



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alleged violation before the Company can terminate him for cause based on violation of a duty

owed by him to the Company.

       50.   By denying Kahlon the required cure period, the Company also wrongfully

excluded him from exercising his stock option grant during that period under Section 5.3 of the

Employment Agreement, which entitled him to purchase shares in the Company’s common stock

at an economically advantageous price during his employment.

       51.    In addition to receiving no notice of termination prior to his effective termination

date, Kahlon was given only four business days upon even learning of the convertible notes

before he was terminated.

       52.   On information and belief the Company sought to remove Kahlon from his

employment solely in an effort to drive a dispute that Gol and Chaluts were and remain engaged

in with Kahlon’s father, Jossef Kahlon. In doing so, Gol and Chaluts on information and belief

also engaged in other unethical behavior to advantage themselves vis-à-vis the Company,

including infusing the Company with counsel and employees who maintained conflicts of

interest and orchestrating use of Kahlon’s signature without his authorization for self-

advantageous purposes. Gol and Chaluts prevented Kahlon from exercising his rights as CEO of

the Company, for example by overruling his attempts to meet payment obligations to third

parties on behalf of the Company, which, in allowing them to hide behind Kahlon as the face of

the Company’s failures of compliance – despite Kahlon’s attempts to enforce the Company’s

obligations – hurt Kahlon’s reputation. On information and belief Gol and Chaluts concocted a

ruse to terminate Kahlon on false pretenses to allow themselves to move forward with their self-

serving agenda of driving their dispute with Kahlon’s father, and in obtaining financial benefit

from the convertible notes that they proceeded to have executed without the need for Kahlon to



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do so shortly after terminating him. Gol and Chaluts falsely alleged that Kahlon was terminated

for cause in order to avoid paying Kahlon what he was entitled to under the Employment

Agreement. Ironically one of the main purposes of the Company, which was extensively funded

by Gol and Chaluts, was to advance consumer desire for clear and ethical business practices by

tapping into the inherent transparency and accessibility of blockchain. Conversely, despite the

fact that Chaluts and Gol maintained extensive financial power and had tremendous business

experience, including in controlling and overseeing dozens of high net worth real estate ventures

in Manhattan and elsewhere and serving multiple times on company boards, they infused the

Company with fraud and unethical acts in self-serving efforts to obtain further financial benefits

and control.

           D. Kahlon is Entitled to Compensation under the Employment
               Agreement Which the Company Refuses to Pay Him

       53.    The Defendant in unilaterally deciding to terminate Kahlon failed to adhere to the

Employment Agreement by misrepresenting the reason for Kahlon’s termination and by

affording him no notice or 30-day cure period as required thereunder.            Additionally, the

Company has refused to compensate Kahlon what is lawfully due to him under the law and what

is contractually mandated upon termination other than for cause in the Employment Agreement.

       54.    As there is no basis under a theory of cause to have terminated Kahlon, as the

Employment Agreement mandates in Section 6.1.2, Kahlon is to be paid his base salary in the

amount prevailing on the date of involuntary termination “for the greater of (i) the balance of the

[three year term of the Employment Agreement] or (ii) a period equal to twelve months

following the effective date of the termination . . . payable in accordance with the Company’s

standard payroll practices.” Under application of this provision, Kahlon is owed roughly

$348,118. Kahlon has been paid none of this compensation by the Company.

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       55.    For the same reasons, Section 6.1.3 mandates an additional cash bonus equal to

100% of Kahlon’s base salary at the time of the termination to be paid in the year following

employment termination at the time annual bonuses are paid to other senior executives of the

Company, or if no such bonuses are paid, on the first anniversary of the termination. The

Company has refused to provide this required compensation to Kahlon, which must be provided

in the amount of $140,000.

       56.    The Company also owes Kahlon “waiver of applicable premium otherwise

payable for COBRA continuation coverage . . . for a period equal to twelve months following

termination” which it has not provided to him, and refuses to do.          Additionally, despite

promising to Kahlon in the Notice of Termination that “[u]nder separate cover you will receive

notice of your rights concerning your benefits, including any rights to continuation of benefits

under COBRA,” the Company has issued no such notice to Kahlon of COBRA continuation

coverage, nor any other rights concerning benefits, in violation of law.

       57.    Kahlon also seeks interest at the statutory 9% rate per year and mandatory

liquidated damages under Article 6 of the New York Labor Law given Defendant’s willful

withholding and deduction of Kahlon’s wages.

       58.    Kahlon is also entitled to future payments from the Company subject to the terms

of the Employment Agreement, as discussed above.

       59.    Kahlon’s Company stock option rights which were suspended upon his

termination without the required thirty-day notice period must also be reengaged.




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                 FIRST CAUSE OF ACTION AGAINST THE COMPANY
                        (Breaches of the Employment Agreement)

       60.    Kahlon repeats and realleges the allegations of paragraphs 1 through 59 of the

Complaint as though fully set forth herein.

       61.    The Employment Agreement is a binding and enforceable agreement entered into

between Kahlon and the Company.

       62.    Kahlon performed under the Employment Agreement and did not engage in any

activity that warranted terminating him for cause under the Employment Agreement.

       63.    As a result the Company terminated Kahlon without cause.

       64.    The Company has breached the Employment Agreement by, among other things:

failing to fulfil the requirements therein, including by failing to provide the required thirty (30)

day cure period and/or notice of termination prior to terminating Kahlon; misrepresenting

Kahlon’s reason for termination; excluding Kahlon from exercising his Company stock option

grant rights; and refusing to provide compensation to Kahlon as required under his Employment

Agreement upon termination, including base pay and cash bonus equivalents, and payment of

applicable premiums otherwise payable for COBRA continuation coverage.

       65.    As a result of the Company’s breaches of the Employment Agreement, Kahlon

has been damaged and continues to be damaged in an amount to be determined at trial, but in no

event less than $1,000,000.00.

       66.    Due to the Company’s withholding of wages and compensation due upon

termination, Kahlon is also entitled to damages for unreasonably delayed payment of his wages,

interest at the pre-judgment annual rate of 9%, and attorneys' fees, costs, and expenses.

       67.    The Company acted intentionally, maliciously and in wanton disregard of

Kahlon’s rights and punitive damages should be awarded as against the Company.

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                SECOND CAUSE OF ACTION AGAINST THE COMPANY
                                   (N.Y. Labor Law §§ 190 et seq.)

       68.    Kahlon repeats and realleges the allegations of paragraphs 1 through 67 of the

Complaint as though fully set forth herein.

       69.    Kahlon did not engage in any activity that warranted terminating him for cause

under the Agreement.

       70.    As a result the Company terminated Kahlon without cause.

       71.    The Company has willfully withheld and deducted Kahlon’s wages due to him

within the time period prescribed by law.

       72.    The Company’s failure and refusal to pay the above constitutes a willful

withholding of wages in violation of Article 6 of the New York Labor Law.

       73.    As a result of the Company’s violations Kahlon is entitled to recover liquidated

damages equal to the amount of the wages withheld and deducted, in an amount to be determined

at trial, but not less than $500,000.00.

       74.    Due to the Company’s withholding of wages, Kahlon is also entitled to damages

for unreasonably delayed payment of his wages, interest at the annual pre-judgment rate of 9%,

and attorneys' fees, costs and expenses.

       75.    The Company acted intentionally, maliciously and in wanton disregard of

Kahlon’s rights and punitive damages should be awarded as against the Company.

                 THIRD CAUSE OF ACTION AGAINST THE COMPANY
                              (Declaratory Judgment)

       76.    Kahlon repeats and realleges the allegations of paragraphs 1 through 75 of the

Complaint as though fully set forth herein.




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       77.    Kahlon did not engage in any activity that warranted terminating him for cause

under the Employment Agreement.

       78.    As a result the Company terminated Kahlon without cause.

       79.    As alleged above, the Company breached the Employment Agreement, and has

refused to provide Kahlon with compensation he is owed upon termination thereunder, including

funds and benefits that are required to be paid to him up and into 2022.

       80.    Kahlon is entitled to a declaratory judgment stating that he is required under

Section 6.1 of the Employment Agreement to receive from the Company compensation including

that owed to Kahlon upon termination, including base pay and cash bonus equivalents, and

payment of applicable premiums otherwise payable for COBRA continuation coverage.

                FOURTH CAUSE OF ACTION AGAINST THE COMPANY
                  (Violation Of The Duty Of Good Faith And Fair Dealing)

       81.    Kahlon repeats and realleges the allegations of paragraphs 1 through 80 of the

Complaint as though fully set forth herein.

       82.    Under New York law, each party to a contract has a duty of good faith and fair

dealing toward the other party to the contract.

       83.    The Company, by its actions and inactions as set forth herein, violated its duty of

good faith and fair dealing towards Kahlon.

       84.    As a result of the Company’s breaches of the duty of good faith and fair dealing,

Kahlon has been damaged in an amount to be determined at trial.

       85.    The Company acted intentionally, maliciously and in wanton disregard of

Kahlon’s rights and punitive damages should be awarded as against the Company.




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                    FIFTH CAUSE OF ACTION AGAINST THE COMPANY
                         (Violation of COBRA Notice Requirement under
                      29 U.S.C. § 1161 HWVHT§ 1132, 29 CFR § 2575.502c-1)


       86.    Kahlon repeats and realleges the allegations of paragraphs 1 through 85 of the

Complaint as though fully set forth herein.

       87.    The Company was required to provide Kahlon notice of the availability of

continued benefits under the Consolidated Omnibus Budget Reconciliation Act of 1985, 29

U.S.C. § 1161 et seq., upon his termination from employment with the Company within the

statutorily prescribed time.

       88.    The Company not done so.

       89.    The Company’s failure to provide Kahlon with the COBRA notice constitutes a

willful violation of the Consolidated Omnibus Budget Reconciliation Act of 1985, 29 U.S.C. §

1161 et seq.

       90.    As a result of the Company’s violations Kahlon is entitled under 29 U.S.C. § 1132

and 29 CFR § 2575.502c-1 to recover statutory damages at the rate of $110 per day of violation,

totaling an amount to be determined at trial.

                                    DEMAND FOR RELIEF

WHEREFORE, Plaintiff, Julian Kahlon, demands judgment against Defendant, Project Verte

Inc., as follows:

               (a)     awarding compensatory damages against the Company for its breach of

                        the Employment Agreement in an amount to be determined at trial but in

                        no event less than $1,000,000.00;




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            (b)   awarding Kahlon damages against the Company pursuant to the New York

                   Labor Law, in an amount to be determined at trial but in no event less than

                   $500,000.00;

            (c)   awarding Kahlon damages against the Company pursuant to the

                   Consolidated Omnibus Budget Reconciliation Act of 1985 at the

                   maximum statutory rate of $110 per day of violation, in a total amount to

                   be determined at trial;

            (d)   awarding Kahlon liquidated damages from the Company in an amount to

                   be determined at trial but in no event less than $500,000.00;

            (e)   awarding Kahlon punitive damages under applicable law, including the

                   New York Labor Law, in an amount to be determined at trial but in no

                   event less than $1,000,000.00;

            (f)   awarding the costs of this action, together with reasonable attorneys’ fees

                   as provided under applicable law, in an amount to be determined at trial;

            (g)   awarding pre-judgment and post-judgment interest as provided by law;

            (h)   a declaratory judgment that that Kahlon is required to receive future

                   compensation from the Company to which he is entitled, including base

                   pay and cash bonus equivalents, and payment of applicable premiums

                   otherwise payable for COBRA continuation coverage;

            (i)   a permanent injunction to prevent the Company from preventing Kahlon

                   from exercising his rights to purchase stock options in the Company as

                   allowed under the Employment Agreement; and

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            (j)   awarding Kahlon such other and further relief as this Court deems

                   necessary and proper.

                                        JURY DEMAND

            Plaintiff Kahlon, hereby demands a trial by jury of all issues so triable.




Dated: New York, New York
       May 15, 2020

                                           REAVIS PAGE JUMP LLP


                                           By: ________________________
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